                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

TERRY LYNN KING,                                      )
                                                      )
        Plaintiff,                                    )       CAPITAL CASE
                                                      )
v.                                                    )       Case No. 3:18-cv-01234
                                                      )
TONY PARKER, et al.,                                  )       JUDGE CAMPBELL
                                                      )
        Defendants.                                   )



                 DEFENDANTS’ MOTION FOR SUMMARY JUDGEMENT


        Plaintiff, a death-row inmate, brought this lawsuit to “prevent[] Defendants from carrying

out the Plaintiff King’s execution utilizing Tennessee’s July 5, 2018 midazolam-based three-drug

lethal injection protocol.” (D.E. 51, PageID# 2280.) The sole remaining count of the Amended

Complaint is Count Three, which challenges the Protocol under 42 U.S.C. § 1983 on the grounds

that it violates the Eighth and Fourteenth Amendments. (D.E. 51, PageID# 2142, 2211; D.E. 70).

        Defendants Tony Parker1 and Tony Mays now move for summary judgment under Fed. R.

Civ. P. 56.    As set out in the accompanying memorandum of law, which is incorporated by

reference, Defendants should be granted summary judgment for the following reasons: (1) the

Protocol, on its face, is neither sure nor very likely to cause needless suffering and severe pain in

violation of the Eighth Amendment; (2) the Protocol contains sufficient safeguards to protect



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  Tony C. Parker recently retired as Commissioner of the Tennessee Department of Correction,
and Lisa Helton is currently the Interim Commissioner. See TN.gov, Gov. Lee Appoints Lisa
Helton    as     Tennessee      Department    of     Correction    Interim     Commissioner,
https://www.tn.gov/governor/news/2021/11/29/gov--lee-appoints-lisa-helton-as-tennessee-
department-of-correction-interim-commissioner.html.


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against any alleged risks of maladministration; and (3) Plaintiff has failed to plead and prove an

alternative method of execution that is available, feasible, readily implemented, and significantly

reduces a substantial risk of severe pain.


                                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE
       I certify that on March 16, 2022, a copy of the foregoing was filed and served via the

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